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 2
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 7   Attorney for Plaintiff
 8
 9                           IN THE UNITED STATES DISTRICT COURT
10                                 FOR THE DISTRICT OF ARIZONA
11   Thadeus J. Sosa,                                     No. CV-19-05129-PHX-DLR
12
                                 Plaintiff,
13   v.                                                        NOTICE OF SETTLEMENT

14
     Wells Fargo Bank, N.A.,
15
                                 Defendant.
16
17
             Pursuant to Local Rule of Civil Procedure 40.2(d), Plaintiff Thadeus J. Sosa and Defendant
18
     Wells Fargo Bank, N.A., through undersigned counsel, hereby give notice that the parties have
19
     reached a settlement and have resolved this matter in its entirety. The parties anticipate that they
20
     will file a stipulation and formal order for dismissal of this case with prejudice within the next 30
21
     days.
22
             Respectfully submitted on this 9th day of August, 2022.
23
      Carden Livesay, Ltd.                          FISHER & PHILLIPS, LLP
24
      By: /s/Joshua W. Carden                       By: /s/Lori A. Gunerw/permission
25
      Joshua W. Carden                              Lori A. Guner
26    Attorneys for Plaintiff                       Pavneet Singh Uppal
                                                    Attorneys for Defendant
27
      I certify that the content of this document
28    is acceptable to all persons required to


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            Case 2:19-cv-05129-DLR Document 78 Filed 08/09/22 Page 2 of 2



 1   sign the document and that authorization
 2   to electronically sign this document has
     been obtained.
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 4   By: s/Joshua W. Carden
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